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                           IN THE UNITED STATES DISTRICT COURT
                     I   i     EASTERN DISTRICT OF ARKANSAS
                                   LITTLE ROCK DISTRICT

NICOLE MOTTO; and WILLIAM                         )
MOTTO,                                            )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )
                                                  )            NO. 4:11-CV-00742-BSM
STATE FARM FIRE AND CASUALTY                      )
COMPANY,                                          )
     Defendants.                                  )
                                                  )
                                                  )
                                                  )

       U.S. BANK'S MOTION TO RECONSIDER AND STAY PENDING APPEAL


       COMES NOW, U.S. Bank, National Association ("US Bank"), and hereby requests that

this Court reconsider its Order of July 17, 2013. In the alternative, US Bank requests that this

Court enter an order staying the disbursement of the funds. In support thereof, US Bank states as

follows:

       1.      In its Order of July 17, 2013, the Court stated that US Bank may pursue its claims

against Mrs. Motto by filing suit against her.

       2.      On July 3, 2013, US Bank filed suit against Mrs. Motto. That case is pending in

the United States Federal District Court for the Eastern District of Arkansas as Case No. 4: 13-cv-

00390-KGB.

       3.      US Bank undoubtedly has an interest in the proceeds of the State Farm Fire and

Casualty insurance policy, as its representative, GMAC Mortgage, LLC ("GMACM") was an

initial payee on the check that State Farm issued for the loss. U.S. Bank is also the trustee for the

unsatisifed loan to Ms. Motto.
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       4.        GMACM was actively participating in the litigation up to and until the time it

filed for bankruptcy protection. At that time, the matter was fully stayed as to GMACM. The

stay precluded GMACM from expending funds to participate in the litigation.

       5.        Nevertheless, Mrs. Motto moved to dismiss GMACM, knowing that this violated

the automatic stay. The Court granted the dismissal.

       6.        Because GMACM was dismissed from this matter while the bankruptcy stay was

pending, GMACM, and now US Bank, have been unfairly prejudiced and prevented from

participating in an action in which they had an interest.

       7.        US Bank and its representatives-including its loan servtcers, GMACM,

Residential Funding Corporation ("RFC"), and subsequently, Ocwen Loan Servicng, LLC

("Ocwen")-were diligent upon seeking to regain entry to this case upon learning that it was

dismissed while the matter was stayed due to the bankruptcy.

       8.        For these reasons, US Bank respectfully requests that the Court reconsider its

Order denying US Bank's Motion to Intervene.

       9.        Alternatively, US Bank requests that this Court enter an order staying the

disbursement of the funds pending the outcome of US Bank's pending action against Mrs. Motto.

        10.      On April 29, 2013, this Court entered an Order denying RFC's motion to

intervene. In that Order, the Court stated that "RFC may enforce any rights it has against Motto

by suing her."

        11.      Heeding the Court's advice, US Bank, and its current loan servicer, Ocwen, filed

a complaint against Mrs. Motto, Mr. Motto, State Farm Fire and Casualty, and the law firm of

Sutter & Gillham on July 3, 2013.




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        12.    A real controversy exists regarding the priority of the claims, which has not been

fully resolved. Adjudication of US Bank's recently filed action will finally determine the priority

of the liens on the property.

        13.    In the interim, the proceeds of the insurance policy paid out by State Farm stand

to be disseminated and consumed, thereby prejudicing US Bank's potential to collect monies

owed to it.

        14.    This Court, without undoing its judgment, can prevent this prejudice by ordering

the clerk to hold the funds pending adjudication of the action filed by US Bank.

        WHEREFORE PREMISES CONSIDERED, US Bank requests that this Court reconsider

its Order denying US Bank's Motion to Intervene and Ordering Disbursement of the State Farm

Funds. In the interim, US Bank asks that the Court enter an Order staying the disbursement of

the funds pending resolution of US Bank's subsequent action.

       Alternatively, US Bank asks that this Court stay the disbursement of the funds pending

US Bank's appeal ofthe denial of its Motion to Intervene.




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                               CERTIFICATE OF SERVICE

      I hereby certify that on this mday of July, 2013, I served the foregoing via first-class
U.S. Mail, postage prepaid, to the following:

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